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                                                  STATES BANKRUPTCY    6
                                                                    COURT
                                            NORTHERN DISTRICT OF GEORGIA
                                                  ATLANTA DIVISION

In re Cheyenne Paige Wiler                                                        Case No.
                                                                                  Chapter 13
                                                     CHAPTER 13 PLAN

Extension                                                                  Composition

You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy
Court may modify your rights by providing for payment of less than the full amount of your claim, by setting the
value of the collateral securing your claim, and/or by setting the interest rate on your claim.

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

   1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or
      such portion of future earnings or other future income of Debtor as is necessary for the execution of this Plan.

   2. Plan Payments and Length of Plan. Debtor will pay the sum of         $715.00       per month to Trustee by
      Payroll Deduction(s) or by     Direct Payment(s) for the applicable commitment period of             36          months,
      unless all allowed claims in every class, other than long-term claims, are paid in full in a shorter period of time. The
      term of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre-
      confirmation plan payment shall be reduced by any pre-confirmation adequate protection payment(s) made
      pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

             The following alternative provision will apply if selected:
                 IF CHECKED, Plan payments will increase by                        on
             upon completion or termination of                                                                           .



   3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and
      belief. An allowed proof of claim will be controlling, unless the Court orders otherwise. Objections to claims may be
      filed before or after confirmation.

   4. Administrative Claims Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as
      set forth below, unless the holder of such claim or expense has agreed to a different treatment of its claim.


     (A). Trustee's Fees. The Trustee shall receive a statutory fee in an amount established by the Attorney General and
the United States Trustee.
     (B). Debtor's Attorney's Fees. Debtor and Debtor’s attorney have agreed to base attorney fee in the amount of
     $4,500.00 for the services identified in the Rule 2016(b) disclosure statement filed in the case. The amount of
     $500.00 was paid prior to the filing of the case. The Trustee shall disburse the unpaid amount of the fee $4,000.00 in
     attorney’s fees plus $310.00 in unpaid expenses) as allowed under General Order 18-2015, as follows: (1) Upon the
     first disbursement following confirmation of a Plan, the Trustee shall disburse to the Debtor’s attorney from the funds
     available and paid into the office of the Trustee by Debtor or on Debtor’s behalf , up to $4,310.00 after the payment
     of any payments under 11 U.S.C.§1326(a)(1)(B) or (C) and administrative fees. The remaining balance of the fees
     shall be paid up to $561.00 per month until the fees are paid in full;(2) If the case is converted prior to confirmation of
     the plan, Debtor directs the Trustee to pay fees to Debtor’s attorney for the funds available of $1,500.00 plus the
     unpaid expenses of $310.00; (3) If the case is dismissed prior to confirmation of the plan, fees for Debtor’s attorney
     of $1,500.00 plus the unpaid expenses of $310.00 as set forth on the 2016(b) disclosure statement are allowed
     pursuant to General Order 18-2015 and shall be paid by the Trustee form the funds available without a fee
     application. Debtors attorney may file a fee application for fees sought over $2,000.00 within 10 days of the Order of
     Dismissal;(4) If the case is converted after confirmation of the plan, Debtor directs the Trustee to pay Debtor’s
     attorney from the funds available, any allowed fees which are unpaid; and (5) If the case is dismissed after the
     confirmation of the plan, Trustee shall pay to Debtor’s attorney from the funds available.
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Debtor(s) and Debtor's attorney have further agreed that Debtor's attorney may be paid for "non base services" as they
are performed on an as-needed basis. These "non-base services,” in addition to the corresponding fee for each, are
identified in paragraph 7 of the Rule 2016(b) disclosure statement found in the case. Upon completion of a "non-base
service,” Debtor's attorney may file an application with the Court, serving all parties-in-interest with notice of the
application and providing an opportunity to be heard on the matter. If the "non-base" fee is approved by the Court, then
the fee shall be added to the balance of the unpaid base fee in this case and paid in accordance with paragraph (B),
above. If the base fee has been paid in full, then the fee shall be paid up to $561.00 per month and the distributions to
creditors shall be reduced, pro rata, by the amount until the additional fee is paid in full.
5.   Priority Claims.
          (A) Domestic Support Obligations.
              None. If none, skip to Plan paragraph 5(B).

               (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the
               claim.


               (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11
               U.S.C. §§ 101(14A) and 1302(b)(6).




               (iii). Anticipated Domestic Support Obligation Arrearage Claims


                   (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in
                   full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured
                   by personal property, arrearage claims secured by real property, and arrearage claims for assumed
                   leases or executory contracts.
                        None; or


                    (a)                                            (b)                                    (c)
                Creditor                                  Estimated arrearage                     Projected monthly
            (Name and Address)                                   claim                            arrearage payment
                 -NONE-

                   (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are
                   assigned to, owed to, or recoverable by a governmental unit.

                        None; or

                   Claimant and proposed treatment:


        (B). Other Priority Claims (e.g., tax claims). These priority claims will be paid in full, but will not be funded until
        after all secured claims, lease arrearage claims, and domestic support claims are paid in full.
                                         (a)                                                            (b)
                                      Creditor                                                    Estimated claim
                             Internal Revenue Service                                                  $0.00
                          Georgia Department of Revenue                                                $0.00
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6. Secured Claims.
(A). Claims Secured by Personal Property Which Debtor Intends to Retain.

                 (i). Pre-confirmation adequate protection payments. No later than 30 days after the date of the filing of
                 this plan or the order for relief, whichever is earlier, the Debtor shall make the following adequate protection
                 payments to creditors pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection
                 payments on allowed claims to the Trustee pending confirmation of the plan, the creditor shall have an
                 administrative lien on such payment(s), subject to objection. If Debtor elects to make such adequate
                 protection payments directly to the creditor, Debtor shall provide evidence of such payment to the Trustee,
                 including the amount and date of the payment.

                 Debtor shall make the following adequate protection payments:

                     directly to the creditor; or

                     to the Trustee pending confirmation of the plan.


             (a)                                 (b)                                            (c)
          Creditor                            Collateral                                Adequate protection
                                                                                         payment amount
          -NONE-



                 (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by
                 personal property shall be paid as set forth in subparagraphs (a) and (b). If Debtor elects to propose a
                 different method of payment, such provision is set forth in subparagraph (c).

                     (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of
                     debts secured by a purchase money security interest in a vehicle for which the debt was incurred
                     within 910 days of filing the bankruptcy petition, or, if the collateral for the debt is any other thing of
                     value, the debt was incurred within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the
                     Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based
                     upon the amount of the claim in column (d) with interest at the rate stated in column (e). Upon
                     confirmation of the plan, the interest rate shown below or as modified will be binding unless a timely
                     written objection to confirmation is filed and sustained by the Court. Payments distributed by the
                     Trustee are subject to the availability of funds.

                         None; or



         (a)                      (b)                    (c)                (d)                  (e)                 (f)
      Creditor                 Collateral             Purchase             Claim              Interest            Monthly
                                                        date              amount                rate              payment
      -NONE-


                     (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any
                     claims secured by personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation of the
                     plan, the Trustee will pay to the holder of each allowed secured claim the monthly payment in column
                     (f) based upon the replacement value as stated in column (d) or the amount of the claim, whichever is
                     less, with interest at the rate stated in column (e). The portion of any allowed claim that exceeds the
                     value indicated below will be treated as an unsecured claim. Upon confirmation of the plan, the
                     valuation and interest rate shown below or as modified will be binding unless a timely written objection
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                    to confirmation is filed and sustained         PagePayments
                                                           by the Court. 4 of 6 distributed by the Trustee are subject to
                    the availability of funds.
                        None; or



         (a)                  (b)                    (c)                      (d)                         (e)                 (f)
      Creditor             Collateral             Purchase               Replacement                   Interest            Monthly
                                                    date                    value                        rate              payment
      -NONE-

                    (c). Other provisions.



        (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition
        mortgage payments directly to each mortgage creditor as those payments ordinarily come due. These regular
        monthly mortgage payments, which may be adjusted up or down as provided for under the loan documents, are
        due beginning the first due date after the case is filed and continuing each month thereafter, unless this Plan
        provides otherwise. Trustee may pay each allowed arrearage claim at the monthly rate indicated below until paid
        in full. Trustee will pay interest on the mortgage arrearage if the creditor requests interest, unless an objection to
        the claim is filed and an order is entered disallowing the requested interest.

            (a)                                  (b)                             (c)                                (d)
         Creditor                             Property                    Estimated pre-                    Projected monthly
                                             description                      petition                      arrearage payment
                                                                             arrearage
                                                                            $7,600.00          $75.00 increasing to $661.00 November
    NATIONSTAR/MR.            4317 Round Hill Drive, Chesterfield, VA                                           2018
        COOPER                                23832
                                                                             $1,000.00                            $25.00
     Creekwood Owner          4317 Round Hill Drive, Chesterfield, VA
        Association                           23832




        (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the
        filing of the petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose
        collateral is surrendered will be treated as unsecured. Any involuntary repossession/foreclosure prior to
        confirmation of this Plan must be obtained by a filed motion and Court order, unless the automatic stay no longer
        applies under § 362(c). Upon Plan confirmation, the automatic stay will be deemed lifted for the collateral
        identified below for surrender and the creditor need not file a Motion to Lift the Stay in order to repossess,
        foreclose upon or sell the collateral. Nothing herein is intended to lift any applicable co-Debtor stay, or to
        abrogate Debtor's state law contract rights.

                 (a)                                                                  (b)
              Creditor                                                  Collateral to be surrendered
             -NONE-
7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan
    paragraph 10
is $22,682.00 . After all other classes have been paid, Trustee will pay to the creditors with allowed general
unsecured claims a pro rata share of        $0.00       or        100        % , whichever is greater. Trustee is authorized
to increase this dollar amount or percentage, if necessary, in order to comply with the applicable commitment period
stated in paragraph 2 of this Plan.
8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed,
and payments due after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in
column (c).
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Debtor proposes to cure any default by paying the               Page
                                                  arrearage on the     5 of 6
                                                                   assumed  leases or contracts in the amounts projected
in column (d) at the same time that payments are made to secured creditors. All other executory contracts and unexpired
leases of personal property are rejected upon conclusion of the confirmation hearing.
    None; or



                  (a)                            (b)                             (c)                            (d)
               Creditor                  Nature of lease or             Payment to be paid              Projected arrearage
                                         executory contract             directly by Debtor               monthly payment
                                                                                                         through plan (for
                                                                                                           informational
                                                                                                             purposes)
       The Atlantic Vinings               Residential Lease                  $1,200.00                         $0.00


9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or
    dismissal of
this case, unless the Court orders otherwise.


10. Other Provisions:

    (A). Special classes of unsecured claims.



    (B). Other direct payments to creditor.



    (C). Other allowed secured claims:
    A proof of claim which is filed and allowed as a secured claim, but is not treated specifically under the plan, shall be
    funded with __4.25%________interest as funds become available after satisfaction of the allowed secured claims
    which have been treated by the plan and prior to payment of allowed non- administrative priority claims (except
    domestic support obligation claims as set forth in paragraph 5(A), above) and general unsecured claims.
    Notwithstanding the foregoing, the Debtor or any other party in interest may object to the allowance of the claim.



    (D). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f):
    The allowed secured claim of each creditor listed below shall not be funded until all allowed, secured claims which
    are being treated by the plan are satisfied. If an order is entered avoiding the creditor's lien, that creditor's claim shall
    be treated as a general, unsecured claim to the extent it is not otherwise secured by property of the estate and
    treated by the plan. To the extent that the creditor's lien is not avoided and is not otherwise treated by the plan, the
    secured claim shall be funded as set forth in the above paragraph. This paragraph shall apply to the following
    creditors:




    (E). Other Provisions:
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Date to:                    10/24/2017                             /s/ Cheyenne Paige Wiler
                                                           Signature of Debtor
              /s/ Francis Laryea 984395
Debtor's Attorney                                          Signature of Joint Debtor
